 Fill in this information to identify the case:

 Debtor 1              Gerald B. Blackwell
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                         Middle
 United States Bankruptcy Court for the: __________               Pennsylvania
                                                    Districtofof__________
                                                    District     __________

 Case number 5:23-bk-00024-MJC
              ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                           12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


                   NewRez LLC d/b/a Shellpoint Mortgage Servicing
 Name of creditor: _______________________________________                                                          2
                                                                                     Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                              Date of payment change:
 identify the debtor’s account:                           9 ____
                                                         ____ 3 ____
                                                                 7 0 ____            Must be at least 21 days after date        01/01/2025
                                                                                                                               _____________
                                                                                     of this notice


                                                                                     New total payment:                           362.10
                                                                                                                               $ ____________
                                                                                     Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
       No
      
      x Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                   the basis for the change. If a statement is not attached, explain why: ___________________________________________
                   __________________________________________________________________________________________________

                                             204.97
                   Current escrow payment: $ _______________                       New escrow payment:           218.02
                                                                                                               $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      
      x No
       Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                   attached, explain why: _______________________________________________________________________________
                   __________________________________________________________________________________________________

                   Current interest rate:         _______________%                 New interest rate:          _______________%

                   Current principal and interest payment: $ _______________       New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      
      x No
       Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                   (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                     New mortgage payment: $ _______________


Official Form 410S1                                          Notice of Mortgage Payment Change                                             page 1

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Debtor 1         Gerald B. Blackwell
                 _______________________________________________________                                               5:23-bk-00024-MJC
                                                                                               Case number (if known) _____________________________________
                 First Name      Middle Name              Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

      I am the creditor.
     
     x I am the creditor’s authorized agent.


 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



  /s/ Angela C. Pattison
     _____________________________________________________________
     Signature
                                                                                               Date    12/02/2024
                                                                                                       ___________________




 Print:             Angela  C. Pattison
                    _________________________________________________________                  Title   Attorney for Creditor
                                                                                                       ___________________________
                    First Name                      Middle Name         Last Name



 Company             Hill Wallack LLP
                    _________________________________________________________



 Address            1415 Route 70 East, Suite 309
                    _________________________________________________________
                    Number                 Street

                    Cherry Hill, NJ 08034
                    ___________________________________________________
                    City                                                State       ZIP Code



 Contact phone       856-616-8086
                    ________________________                                                          apattison@hillwallack.com
                                                                                               Email ________________________




Official Form 410S1                                                   Notice of Mortgage Payment Change                                           page 2

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     Print            Save As...                             Doc Add
                                                                   FiledAttachment
                                                                         12/02/24 Entered 12/02/24 11:49:38                                Desc
                                                                                                                                            Reset
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                             December 2, 2024




                                         Justin Padilla




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                                                                                                   Shellpoint Mortgage Servicing
                                                                                                   P.O. Box 10826
                                                                                                   Greenville, SC 29603
                                                                                                   For Inquiries: 866-317-2347




                                                                                                                                      Analysis Date:                                             October 17, 2024
        GERALD B BLACKWELL                                                                                                            Loan:
        707 E MAIN ST                                                                                                                 Property Address:
        WEATHERLY PA 18255                                                                                                            707 E MAIN ST
                                                                                                                                      WEATHERLY, PA 18255




                                                                   Annual Escrow Account Disclosure Statement - Account History
                      THIS NOTICE IS BEING PROVIDED PURSUANT TO THE REAL ESTATE SETTLEMENT PROCEDURES ACT AND REGULATION X. TO THE EXTENT THE LOAN DESCRIBED
                      BELOW IS INCLUDED IN AN ACTIVE BANKRUPTCY CASE OR IS SUBJECT TO A BANKRUPTCY DISCHARGE, THIS NOTICE IS BEING PROVIDED FOR INFORMATIONAL
                                        PURPOSES ONLY AND IS NOT A DEMAND FOR PAYMENT OR AN ATTEMPT TO COLLECT THE DEBT FROM YOU PERSONALLY


      The following is an overview of your escrow account with Shellpoint Mortgage Servicing. It contains the history of escrow payments made on your behalf in
      the prior year, and a snapshot of the anticipated disbursements for the coming year. Any potential adjustments due to increases or decreases with your
      escrow items may affect your monthly escrow payment. If your escrow payment increases, your monthly payment will also increase. If the escrow payment
      decreases, your mortgage payment will decrease.

Payment Information               Contractual           Effective Jan 01, 2025          Prior Esc Pmt                February 01, 2024          Escrow Balance Calculation

P & I Pmt:                            $144.08                             $144.08**     P & I Pmt:                             $144.08          Due Date:                                             June 01, 2024
Escrow Pmt:                           $204.97                             $218.02       Escrow Pmt:                            $204.97          Escrow Balance:                                            $545.01
Other Funds Pmt:                        $0.00                               $0.00       Other Funds Pmt:                         $0.00          Anticipated Pmts to Escrow:                              $1,434.79
Asst. Pmt (-):                          $0.00                               $0.00       Asst. Pmt (-):                           $0.00          Anticipated Pmts from Escrow (-):                           $37.38
Reserve Acct Pmt:                       $0.00                               $0.00       Resrv Acct Pmt:                          $0.00
Total Payment:                        $349.05                             $362.10       Total Payment:                         $349.05          Anticipated Escrow Balance:                              $1,942.42


Shortage/Overage Information                                      Effective Jan 01, 2025           Cushion Calculation: Because Shellpoint Mortgage Servicing does not set your tax amounts
                                                                                                   or insurance premiums, your escrow balance contains a cushion of 436.03. A cushion is an
Upcoming Total Annual Bills                                                     $2,616.19
                                                                                                   additional amount of funds held in your escrow in order to prevent the balance from
Required Cushion                                                                 $436.03
                                                                                                   becoming overdrawn when an increase in the disbursement amount occurs. Your lowest
Required Starting Balance                                                       $1,033.97
                                                                                                   monthly balance should not be below 436.03 or 1/6 of the anticipated payment from the
Escrow Shortage                                                                     $0.00
                                                                                                   account.

        ** The terms of your loan may result in changes to the monthly principal and interest payments during the year.
        ** Since you are in an active bankruptcy, your new payment shown above is the post-petition payment amount.
      This is a statement of actual activity in your escrow account from Feb 2024 to Dec 2024. Last year's anticipated activity (payments to and from your escrow
      account) is next to the actual activity.

                              Payments to Escrow                            Payments From Escrow                                                              Escrow Balance
          Date                Anticipated              Actual               Anticipated          Actual                    Description                        Required              Actual
                                                                                                                     Starting Balance                            1,156.51           (2,951.77)
        Feb 2024                       204.97                200.08                  18.33                 17.21   * Lender Placed Hazard                        1,343.15           (2,768.90)
        Mar 2024                       204.97                204.97                  18.33                 18.69   * Lender Placed Hazard                        1,529.79           (2,582.62)
        Apr 2024                       204.97                204.97                  18.33                 18.44   * Lender Placed Hazard                        1,716.43           (2,396.09)
        May 2024                       204.97                                       392.56                416.60   * County Coll/Other Ta                        1,528.84           (2,812.69)
        May 2024                                                                    201.89                330.07   * Borough Tax                                 1,326.95           (3,142.76)
        May 2024                                             204.97                  18.33                 18.69   * Lender Placed Hazard                        1,308.62           (2,956.48)
        Jun 2024                       204.97                204.97                  18.33                 18.44   * Lender Placed Hazard                        1,495.26           (2,769.95)
        Jul 2024                       204.97                204.97                  18.33                 18.69   * Lender Placed Hazard                        1,681.90           (2,583.67)
        Aug 2024                       204.97              1,229.82                  18.33                 18.69   * Lender Placed Hazard                        1,868.54           (1,372.54)
        Aug 2024                                                                                        1,645.24   * School Tax                                  1,868.54           (3,017.78)
        Sep 2024                       204.97                                    1,645.24                          * School Tax                                    428.27           (3,017.78)
        Sep 2024                                             204.97                 18.33                 18.44    * Lender Placed Hazard                          409.94           (2,831.25)
        Oct 2024                       204.97                204.97                 18.33                 18.69    * Lender Placed Hazard                          596.58           (2,644.97)
        Nov 2024                       204.97                                       18.33                          * Lender Placed Hazard                          783.22           (2,644.97)
        Dec 2024                       204.97                                       18.33                          * Lender Placed Hazard                          969.86           (2,644.97)
                                                                                                                     Anticipated Transactions                      969.86           (2,644.97)
        Nov 2024                                                      P                                  18.69       Lender Placed Hazard                                           (2,663.66)
        Dec 2024                                           1,434.79 P                                    18.69       Lender Placed Hazard                                           (1,247.56)
                                    $2,254.67             $4,299.48             $2,441.32            $2,595.27
        An asterisk (*) indicates a difference from a previous estimate either in the date or the amount. If you want a further explanation, please call our toll-free
        number.
        P - The letter (P) beside an amount indicates that the payment or disbursement has not yet occurred but is estimated to occur as shown.




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                                                                                               Shellpoint Mortgage Servicing
                                                                                               For Inquiries: 866-317-2347

                                                                                                                               Analysis Date:                                      October 17, 2024
                                                                                                                               Loan:

                                                         Annual Escrow Account Disclosure Statement - Projections for Coming Year
                      THIS NOTICE IS BEING PROVIDED PURSUANT TO THE REAL ESTATE SETTLEMENT PROCEDURES ACT AND REGULATION X. TO THE EXTENT THE LOAN DESCRIBED
                      BELOW IS INCLUDED IN AN ACTIVE BANKRUPTCY CASE OR IS SUBJECT TO A BANKRUPTCY DISCHARGE, THIS NOTICE IS BEING PROVIDED FOR INFORMATIONAL
                                        PURPOSES ONLY AND IS NOT A DEMAND FOR PAYMENT OR AN ATTEMPT TO COLLECT THE DEBT FROM YOU PERSONALLY


        This is an estimate of activity in your escrow account during the coming year based on payments anticipated to be made to and from your account.
        Your unpaid pre-petition escrow Amount is $3,189.98. This amount has been removed from the projected starting balance.

        Original Pre-Petition Amouont $3,189.98, Paid Pre-Petition Amount $0.00, Remaining Pre-Petition Amount $3,189.98.
             Date                   Anticipated Payments                                                                                                   Escrow Balance
                                   To Escrow              From Escrow                 Description                                                Anticipated                Required
                                                                                      Starting Balance                                                1,942.42                 1,033.97
        Jan 2025                          218.02                 18.69                Lender Placed Hazard                                            2,141.75                 1,233.30
        Feb 2025                          218.02                 18.69                Lender Placed Hazard                                            2,341.08                 1,432.63
        Mar 2025                          218.02                 18.69                Lender Placed Hazard                                            2,540.41                 1,631.96
        Apr 2025                          218.02                 18.69                Lender Placed Hazard                                            2,739.74                 1,831.29
        May 2025                          218.02                330.07                Borough Tax                                                     2,627.69                 1,719.24
        May 2025                                                416.60                County Coll/Other Ta                                            2,211.09                 1,302.64
        May 2025                                                 18.69                Lender Placed Hazard                                            2,192.40                 1,283.95
        Jun 2025                          218.02                 18.69                Lender Placed Hazard                                            2,391.73                 1,483.28
        Jul 2025                          218.02                 18.69                Lender Placed Hazard                                            2,591.06                 1,682.61
        Aug 2025                          218.02                 18.69                Lender Placed Hazard                                            2,790.39                 1,881.94
        Sep 2025                          218.02              1,645.24                School Tax                                                      1,363.17                   454.72
        Sep 2025                                                 18.69                Lender Placed Hazard                                            1,344.48                   436.03
        Oct 2025                          218.02                 18.69                Lender Placed Hazard                                            1,543.81                   635.36
        Nov 2025                          218.02                 18.69                Lender Placed Hazard                                            1,743.14                   834.69
        Dec 2025                          218.02                 18.69                Lender Placed Hazard                                            1,942.47                 1,034.02
                                       $2,616.24             $2,616.19
        G – Pending Disbursements prior to the bankruptcy filing date. Pre-petition disbursements.

    (Please keep this statement for comparison with the actual activity in your account at the end of the escrow accounting computation year.)


    Your ending balance from the last month of the account history (escrow balance anticipated) is 1,942.42. Your starting
    balance (escrow balance required) according to this analysis should be $1,033.97.



    .
    We anticipate the total of your coming year bills to be 2,616.19. We divide that amount by the number of payments expected during the coming year to obtain
    your escrow payment.
      New Escrow Payment Calculation

        Unadjusted Escrow Payment                                                  $218.02
        Surplus Reduction:                                                           $0.00
        Shortage Installment:                                                        $0.00
        Rounding Adjustment Amount:                                                  $0.00

        Escrow Payment:                                                            $218.02




                                                                 Please read the following important notices as they may affect your rights.

Newrez LLC dba Shellpoint Mortgage Servicing is a debt collector. This is an attempt to collect a debt and any information obtained will be used for that purpose.
Newrez LLC dba Shellpoint Mortgage Servicing's NMLS ID is 3013.

If you are a customer in bankruptcy or a customer who has received a bankruptcy discharge of this debt: please be advised that this notice is to advise you of the
status of your mortgage loan. This notice constitutes neither a demand for payment nor a notice of personal liability to any recipient hereof, who might have
received a discharge of such debt in accordance with applicable bankruptcy laws or who might be subject to the automatic stay of Section 362 of the United States
Bankruptcy Code.

Attention Servicemembers and Dependents: The federal Servicemembers Civil Relief Act and certain state laws provide important protections for you, including
interest rate protections and prohibiting foreclosure under most circumstances during and twelve months after the servicemember’s military or other service.
Counseling for covered servicemembers is available from Military OneSource (800-342-9647) and the United States Armed Forces Legal Assistance or other similar
agencies. For more information, please visit the Military OneSource website www.militaryonesource.mil/.

Notice of Error or Information Request Address
You have certain rights under Federal law related to resolving errors in the servicing of your loan and requesting information about your loan. If you want to
request information about your loan or if you believe an error has occurred in the servicing of your loan and would like to submit an Error Resolution or
Informational Request, please write to us. Additionally, if you believe we have furnished inaccurate information to credit reporting agencies, please write to us
with specific details regarding those errors and any supporting documentation that you have and we will assist you. Error Resolution, including concerns of
inaccurate information sent to credit reporting agencies, or requests for information should be sent to the following address:

Shellpoint Mortgage Servicing
P.O. Box 10826
Greenville, SC 29603
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We may report information about your account to credit bureaus. Late payments, missed payments, or other defaults on your account may be reflected in your
credit report.

A successor in interest is someone who acquires an ownership interest in a property secured by a mortgage loan by transfer upon the death of a relative, as a
result of a divorce or legal separation, through certain trusts, between spouses, from a parent to a child, or when a borrower who is a joint tenant or tenant by the
entirety dies. If you are a successor in interest, or you think you might be, please contact by phone, mail or email to start the confirmation process.

Our system of record has your preferred language as English.

If you prefer to receive communication in a language other than English, please contact us at 866-317-2347 to speak with a translator in your preferred language
about the servicing of your loan or a document you received.

Si prefiere recibir las comunicaciones en otro idioma que no sea el inglés, por favor, contáctenos en el 866-317-2347 para hablar con un traductor en el idioma de
su preferencia sobre la gestión de su préstamo o cualquier documento que haya recibido.

如果您要使用英语以外的其他语言进行交流，请致电                                                  866-317-2347，我们将根据您首选的语言安排相应的译员，与您就贷款服务事项或您所接收的文件
进行商讨。


Please note that we operate as Newrez Mortgage LLC dba Shellpoint Mortgage Servicing in Arkansas and Texas.




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